                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE

STEVEN CHRISTOPHER KNAPP,                             )
                                                      )
         Plaintiff,                                   )
                                                      )
v.                                                    )        Case No: 3:19-CV-00542
                                                      )        Judge Richardson
METROPOLITAN GOV’T OF                                 )        Magistrate Judge Holmes
NASHVILLE, et. al.,                                   )
                                                      )
         Defendants.                                  )

                                       NOTICE OF APPEARANCE

         Comes now John Thomas Feeney, Feeney & Murray, P.C. and enters this appearance on

behalf of Metro Development and Housing Authority, as sued.

         This Notice of Appearance is made so as to receive notice of filings and is without waiver

of the service of process obligations imposed upon Plaintiff. This Defendant specifically reserves

its objections to the failure of service of process and insufficiency of process1 all pursuant to

Rule 12(b)(4) and (5) of the Federal Rules of Civil Procedure.


                                                      Respectfully submitted,

                                                      FEENEY & MURRAY, P.C.

                                                      By: s/s John Thomas Feeney
                                                             John Thomas Feeney
                                                            BPRN 11482
                                                            Attorneys for Metro Development and
                                                              Housing Authority
                                                            424 Church Street, Suite 2230
                                                            Nashville, Tennessee 37219
                                                            (615) 242-3700

1 It appears Plaintiff is attempting to serve Defendants with materials contained on a CD without written consent in
violation of Fed.R.Civ.P. (5)(b)(2)(E).
                                                          1




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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing has been
served via United States Mail, postage prepaid, to:

                                      Steven Christopher Knapp
                                      P.O. Box 332111
                                      Nashville, TN 37203

This, the 24th day of July 2019.

                                                   s/s John Thomas Feeney
                                                   John Thomas Feeney




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